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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

ASTRID G. ESTRADA, WENDY M. ESTRADA,                         :
GUILFREDO E. MUNOZ, JOSE A. AQUINO,                          :
CRUZ F. RIVERA, CARLOS E. TAMUP,                             :
JOSE BURGOS, ABELINO M. URIZAR,                              :
ISRAEL TEBALAN, ROLANDO NORIEGA,                             :
BORIS R. CRUZ, and ELSA HERNANDEZ                            :
VILAVICENCIO,                                                :
     Plaintiffs                                              :
                                                             :
        v.                                                   :     C.A. No.:07-10ML
                                                             :
STATE OF RHODE ISLAND,                                       :
State Police Department, STEVEN M. PARE,                     :
individually and in his official capacity as Superintendent :
 of the Rhode Island State Police, THOMAS CHABOT, :
individually and in his official capacity as a state trooper :
employed by the State of Rhode Island, JANE DOE,             :
individually and in her official capacity as a state trooper :
employed by the State of Rhode Island,                       :
        Defendants                                           :

            PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
            ADDRESSED TO THE DEFENDANT STATE OF RHODE ISLAND

                                         I. Introduction

       Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Plaintiff requests that
Defendant State of Rhode Island produce the following documents and things for inspection and
copying at the office of SINAPI, FORMISANO & COMPANY, LTD., 100 Midway Place, Suite
1, Cranston, Rhode Island 02920, on or before thirty (30) days following service of the within
Request for Production.

                                         II. Definitions

        For the purpose of this Document Production Request and responses thereto, the following
definitions shall apply:

A.      "Document" is to be construed in its broadest sense under Rule 34, including, without
        limitation, all picture, photographs, videotapes, drafts, maps, diagrams, sketches, tape
        recordings, statements (whether signed or unsigned), interviews, reports, correspondence,
        notices, letters, invoices, bills, memoranda, orders, directives, regulations, summaries,
        transcripts, books, manuals, brochures, or copies of other preliminary material which is
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        different in any way from the executed or final document, and any paper or other writing
        and any item of graphic material whatsoever, however recorded or reproduced.

B.      “Relating to” means containing, embodying, referring to, or in anyway pertaining or
        relating to the substance of the particular matter being inquired of.

C.      "Person" shall mean the plural as well as the singular and shall include any natural person,
        and any firm, association, partnership, joint venture, business trust, corporation,
        governmental or public entity, department, agency, or office, or any other form of legal
        entity.

D.      "You" and "your" shall mean the plural as well as the singular and is defined as meaning
        the individual or entity which is the subject of this request, or any person or entity acting
        under such individual's or entity's direction or control.

E.      "Communication," unless otherwise modified, means both verbal communication and
        communication by document.

F.      For any requested document or thing as to which any claim of privilege is made or as to
        which any claim of protection from discovery is made, identify the privilege or Rule upon
        which you rely and set forth the facts upon which such claim is based in sufficient detail to
        enable Plaintiff to form a judgment as to the basis and validity of the claimed privilege.

                                    III. Documents Requested

1.      Produce copies of any and all reports, statements, records, diagrams, photographs, video or
        tape recordings, and maps, whether taken before, after, or during the incident (the word
        “incident” as hereinafter used shall refer to any and all matters alleged in Plaintiffs’
        Complaint and/or Defendants’ defenses thereto and any damages flowing therefrom), or
        any other documents of any kind relating to the stop and search of the Plaintiffs on or about
        July 11, 2006, including, but not limited to, any investigation(s) of the incident with regard
        to the conduct of the Plaintiffs or any Rhode Island State Police Department member who
        was present at the scene of the incident or in any way involved in the incident, including
        the following:

        (a)    statements and/or interviews of witnesses, police officers and/or other persons who
               had any contact or involvement with the incident occurring on July 11, 2006;

        (b)    each and every police report, including internal investigations by the Rhode Island
               State Police Department ("Department") made on or subsequent to July 11, 2006.
               "Department" as used in this Request includes any person, body, or entity acting
               under or pursuant to said Department's authority, direction, or control; and,

        (c)    each and every incident report relating to the incident occurring on July 11, 2006.




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2.      Each and every document relating to the policies, procedures and/or customs of the
        Department regarding a traffic violation stop, investigatory stop, and search, seizure and
        arrest in existence as of the date of the incident.


                                             Plaintiffs,
                                             By their Attorneys,




                                             _________________________________
Dated: February __, 2007                     V. Edward Formisano (#5512)
                                             American Civil Liberties Union,
                                             Rhode Island Affiliate
                                             Sinapi, Formisano & Co., Ltd.
                                             100 Midway Place, Suite 1
                                             Cranston, RI 02920-5707
                                             (401)944-9690
                                             (401)943-9040 (facsimile)

                                       CERTIFICATION


To:     James Lee, Chief, Civil Division
        Department of Attorney General
        150 South Main Street
        Providence, RI 02903

       I hereby certify that the within document was caused to be served or mailed, postage
prepaid, to the above-cited attorney of record on this ____day of February, 2007.




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